                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

        Plaintiff,

       v.                                                   Case No. 17-CR-124

MARCUS HUTCHINS,

        Defendant.


                       PRETRIAL MOTION SCHEDULING ORDER


        On February 22, 2018, I held a conference in this matter addressing defendant

Marcus Hutchins’ motions to compel as well as the pretrial motion schedule. Appearing for

the government was AUSA Michael Chmelar and AUSA Benjamin Proctor. Appearing on

behalf of Hutchins was attorneys Brian Klein, Marcia Hofmann, and Daniel Stiller.

        After consulting with both parties, IT IS ORDERED that the scheduling order will

be entered as follows:

        1.       Submissions regarding MLAT disclosure shall be filed by March 1, 2018.

        2.       Any motions shall be filed by March 30, 2018. Any responses shall be filed by

April 18, 2018. Any replies shall be filed by April 30, 2018.

        3.       If necessary, the evidentiary hearing shall take place on April 19, 2018 at 1:30

p.m.




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       IT IS FURTHER ORDERED:

       Pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) & (iv), the period of time from February 22,

2018 until April 30, 2018 shall be excluded under the Speedy Trial Act.



       Dated at Milwaukee, Wisconsin this 22nd day of February, 2018.



                                                 BY THE COURT

                                                 s/Nancy Joseph_____________
                                                 NANCY JOSEPH
                                                 United States Magistrate Judge




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